                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                                         No. CR07-4068-MWB
 vs.                                                       ORDER ON MOTION TO SEVER
 DAT VO,
                 Defendant.
                                      ____________________


        This matter is before the court on motion (Doc. No. 215) of the defendant Dat Vo
to sever his trial from the trial of his codefendants. This case was commenced on
September 27, 2007, with the indictment of seven individuals in connection with a
marijuana manufacturing and distribution conspiracy. (See Doc. No. 1) Defendant Vo
was added to the case in a twenty-one count Second Superseding Indictment returned on
January 24, 2008. Defendant Vo is charged with one count of conspiracy to manufacture,
possess with intent to distribute, and distribution of 1,000 or more marijuana plants and
1,000 kilograms of marijuana, within 1,000 feet of a playground or school, in violation
of 21 U.S.C. §§ 841(a)(1), 841(b)(a)(1), 846, and 860. (See Doc. No. 128, Count 2) In
addition, Defendant Vo is charged with one count of conspiracy to launder money, in
violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and 1956(h). (Id.)
        In the present motion, Vo claims his joinder with the other eight codefendants for
trial1 will cause him actual prejudice. He claims his joinder with the other defendants does
not comply with Federal Rule of Criminal Procedure 8(b). He further argues the “two top
defendants” are charged with a continuing criminal enterprise (“CCE”), the trial of which



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         Vo has nine codefendants in the case; however, one defendant has already entered a change of plea
and is scheduled for sentencing.



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“will involve proof of management activities and money derived from the CCE,” separate
and apart from the proof of the conspiracy with which Vo is charged. He asserts the
“spill-over effect of the evidence relating to the CCE . . . along with the evidence relating
to the other counts in which he is not charged, will severely prejudice him, and make it
impossible for the jury to assess his guilt or innocence on the evidence admissible just as
to him.” (Doc. No. 215-2 at 2)
       The plaintiff resists Vo’s motion to sever. (Doc. No. 223) In response to Vo’s first
argument, the plaintiff notes Rule 8(b) allows joinder of defendants who allegedly
“‘participated in the same act or transaction, or in the same series of acts or transactions,
constituting an offense or offenses.’” (Doc. No. 223, quoting Fed. R. Crim. P. 8(b))
Because all ten of the defendants are charged in Count 2 with a single, common
conspiracy, the plaintiff argues the requirements of Rule 8(b) have been met.
       The court agrees.      All ten defendants are charged with a conspiracy that
encompasses a series of acts or transactions constituting the alleged offense. Vo’s allusion
to Rule 8(b) is vague and is unsupported by argument or authorities. The court finds this
argument to be unavailing and denies Vo’s motion to sever on this basis.
       In response to Vo’s argument that he will be prejudiced by joinder for trial, the
plaintiff argues the evidence of which Vo complains – that is, evidence relating to proof
of management activities and money derived from the CCE – “is actually relevant evidence
relating to [Vo’s] role in the charged conspiracy.” (Doc. No. 223 at 3) The plaintiff
further argues the jury should have no difficulty compartmentalizing the evidence relating
solely to Vo because Vo did not participate in growing the marijuana, and his “role is clear
as a purchaser and distributor of the marijuana generated by the conspiracy.” (Id. at 4)
The plaintiff notes Vo has failed to point to any specific prejudice he would suffer, only
offering “broad statements and factually unsupported conclusions to support his request
for severance[.]” (Id.)


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      Regarding joinder of trials, the United States Supreme Court has held:
             Rule 8(b) states that “[t]wo or more defendants may be
             charged in the same indictment or information if they are
             alleged to have participated in the same act or transaction or in
             the same series of acts or transactions constituting an offense
             or offenses.” There is a preference in the federal system for
             joint trials of defendants who are indicted together. Joint trials
             “play a vital role in the criminal justice system.” Richardson
             v. Marsh, 481 U.S. 200, 209, 107 S. Ct. 1702, 1708, 95
             L. Ed. 2d 176 (1987). They promote efficiency and “serve the
             interests of justice by avoiding the scandal and inequity of
             inconsistent verdicts. Id., at 210, 107 S. Ct., at 1708. For
             these reasons, we repeatedly have approved of joint trials. See
             ibid.; Opper v. United States, 348 U.S. 84, 95, 75 S. Ct. 158,
             165, 99 L. Ed. 101 (1954); United States v. Marchant, 12
             Wheat. 480, 6 L. Ed. 2d 700 (1827); cf. 1 C. Wright, Federal
             Practice and Procedure § 223 (2d ed. 1982) (citing lower court
             opinions to the same effect). But Rule 14 recognizes that
             joinder, even when proper under rule 8(b), may prejudice
             either a defendant or the Government. Thus, the Rule
             provides:

                    If it appears that a defendant or the government
                    is prejudiced by a joinder of . . . defendants . . .
                    for trial together, the court may order an election
                    or separate trials of counts, grant a severance of
                    defendants or provide whatever other relief
                    justice requires.
Zafiro v. United States, 506 U.S. 534, 537-38, 113 S. Ct. 933, 937, 122 L. Ed. 2d 317
(1993).
      However, “[a] defendant is not entitled to severance merely because the evidence
against a co-defendant is more damaging than the evidence against him. . . . Severance
becomes necessary [only] where . . . a jury could not be expected to compartmentalize the
evidence as it relates to separate defendants.” United States v. Mathison, 157 F.3d 541,
546 (8th Cir. 1998). Vo has made no specific claims that are sufficient to overcome the


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preference for a joint trial. See United States v. Frazier, 280 F.3d 835, 844 (8th Cir.
2002). “Where multiple defendants are tried together, the risk of undue prejudice is best
cured through cautionary instructions to the jury.” United States v. Boone, 437 F.3d 829,
838 (8th Cir. 2006) (citing United States v. Mickelson, 378 F.3d 810, 817 (8th Cir. 2004)).
       Vo has failed to meet his burden to show he would suffer serious prejudice from
joinder with his codefendants for trial. His motion to sever is denied.
       IT IS SO ORDERED.
       DATED this 10th day of March, 2008.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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